          Case 17-07453-RLM-13                       Doc       Filed 05/04/20         EOD 05/04/20 17:08:51                    Pg 1 of 7
 Fill in this information to identify the case:

 Debtor 1              __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: __________ District of __________

 Case number            ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                   U.S. Bank Trust National Association, as
 Name of creditor: Trustee of the Bungalow Series IV Trust
                   _______________________________________                           Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                          ____ ____ ____ ____         Must be at least 21 days after date       _____________
                                                                                     of this notice


                                                                                     New total payment:                        $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                      New escrow payment:          $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                New interest rate:           _______________%

                   Current principal and interest payment: $ _______________      New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                    New mortgage payment: $ _______________


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Debtor 1         _______________________________________________________                       Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.
     ✔
          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



    _____________________________________________________________
     Signature
                                                                                               Date    ___________________




 Print:             _________________________________________________________                  Title   Authorized  Agent for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Sottile & Barile, LLC
                    _________________________________________________________



 Address            394 Wards Corner Road, Suite 180
                    _________________________________________________________
                    Number                 Street

                    Loveland                         OH      45140
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      513-444-4100
                    ________________________                                                          bankruptcy@sottileandbarile.com
                                                                                               Email ________________________




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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 In Re:                                            Case No. 17-07453-RLM-13

 Jeremy Joseph Jackson
                                                   Chapter 13
 Tina Lynn Jackson

 Debtors.                                          Judge Robyn L. Moberly

                                  CERTIFICATE OF SERVICE

I certify that on May 4, 2020, a copy of the foregoing Notice of Mortgage Payment Change was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/Parties may access this filing through the Court’s system:

          Robert B. Lynch, Debtors’ Counsel
          erin@lynchandbelch.com

          John Morgan Hauber, Chapter 13 Trustee
          ecfmail@hauber13.com

          Office of the United States Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on May 4, 2020, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Jeremy Joseph Jackson, Debtor
          5641 Olive Branch Way
          Indianapolis, IN 46237
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     Tina Lynn Jackson, Debtor
     5641 Olive Branch Way
     Indianapolis, IN 46237


Dated: May 4, 2020                        /s/ Molly Slutsky Simons
                                          Molly Slutsky Simons
                                          Authorized Agent for Creditor
                                          Sottile & Barile, LLC
                                          394 Wards Corner Road, Suite 180
                                          Loveland, OH 45140
                                          Phone: 513.444.4100
                                          Email: bankruptcy@sottileandbarile.com
